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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA

  SAMANTHA WILLIAMS and DAKOTA                 DOCKET NO.: 1:20-cv-01501
  FISHER, individually and on behalf of all
  others similarly situated, and WES PIGOTT,

        Plaintiffs,
                                               MAGISTRATE JOESPH H. L. PEREZ-
  v.                                           MONTES

  D’ARGENT FRANCHISING, LLC,
  D’ARGENT CONSTRUCTION, LLC,
  D’ARGENT COMPANIES, LLC,
  THOMAS GIALLONARDO, III,
  JUSTIN GIALLONARDO, and
  XYZ INSURANCE COMPANY

        Defendants.



  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR EXTENSION OF
                 TIME PURSUANT TO RULE 6(b)(1)(B)
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 I.     STATEMENT OF THE CASE

        On July 3, 2023, Plaintiffs filed a Motion for Sanctions (ECF 128). Upon receiving

 Plaintiffs’ Motion for Sanctions, Defendants’ counsel’s docketing department calculated the

 deadline for filing a response to Plaintiffs’ Motion for Sanctions as Friday, July 28, 2023, and

 calendared it for the same date. See Exhibit A.

        Defendants’ counsel was out of the office on Monday, July 24, 2023, in another matter and

 for medical treatment due to an accident occurring the previous weekend. Upon returning to the

 office on Tuesday, July 25, 2023, Defendants’ counsel misread a calendar reminder for the

 upcoming July 28, 2023 deadline, and reached out to Plaintiffs’ counsel about getting an extension

 to file a response to their Motions for Sanctions. See Exhibit B. At nearly the same time,

 Defendants’ counsel received an e-mail reminded that the calendared deadline to file a response

 was July 28, 2023. See Exhibit A. Therefore, Defendants’ counsel again reached out to Plaintiffs’

 counsel explaining that she misread her calendar and that an extension was not necessary because

 she, albeit incorrectly, believed the deadline was actually Friday, July 28, 2023. See Exhibit C.

 Plaintiffs’ Notice of No Response to Plaintiff Motions for Sections (ECF 148) quotes Defendants’

 counsel out of context. At the time the correspondence was sent, Defendants’ counsel believed the

 deadline was Friday, July 28, 2023 – not June 24, 2023.

        While it is unclear why the deadline to file a response was incorrectly calculated and

 calendared, it was an honest mistake with no bad faith by Defendants’ or their counsel. Defendants’

 oppose the Motion for Sanctions, and ask this Court to use its discretion under Rule 6(b)(1)(B) to

 present their arguments to this Court.




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        For the reasons explained herein, Defendants respectfully request that this Court grant

 Defendants’ Motion for Extension of Time, and permit Defendants to file an opposition to

 Plaintiff’s Motion for Sanctions (ECF 128) on July 31, 2023.


 II.    DEFENDANTS SHOULD BE ALLOWED TO FILE AN OPPOSITION UNDER
        CIVIL PROCEDURE 6(B)(1)(B)

        1. Standard for Extension of Time Under Federal Rule of Civil Procedure 6(b)(1)(B)

        Federal Rule of Civil Procedure 6(b)(1) governs requests to modify most deadlines in civil

 proceedings. Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), the court may extend

 deadlines before they have passed "for good cause." Once a deadline has passed, the court may

 extend it "for good cause" only "if the party failed to act because of excusable neglect." Federal

 Rule of Civil Procedure 6(b)(1)(B).

        "Whether a party is entitled to relief for excusable neglect is a determination that is 'at

 bottom an equitable one, taking account of all relevant circumstances.'" Coleman Hammons

 Constr. Co., Inc. v. Occupational Safety & Health Rev. Comm'n, 942 F.3d 279, 282-83 (5th Cir.

 2019) (quoting Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P'ship, 507 U.S. 380, 395, 113

 S. Ct. 1489, 123 L. Ed. 2d 74 (1993)). The Court must consider:

        (1) the possibility of prejudice to the other parties, (2) the length of the applicant's
        delay and its impact on the proceeding, (3) the reason for the delay and whether it
        was within the control of the movant, and (4) whether the movant has acted in good
        faith.

 Salts v. Epps, 676 F.3d 468, 474 (5th Cir. 2012).

        The party seeking an extension bears the burden of demonstrating excusable neglect.

 Pennino v. Reilly-Benton Co., Inc., No. 21-363, 2022 U.S. Dist. LEXIS 118209, 2022 WL

 2467685, at *1 (E.D. La. July 6, 2022) (Lemelle, J.); see also, Alizadeh v. BP Expl. & Prod., 2023

 U.S. Dist. LEXIS 120293, at *2-3 (E.D. La. July 13, 2023).


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         Here, the deadline for filing a response to Plaintiffs’ Motion for Sanctions was

 inadvertently calendared on the incorrect date. As explained below, the error was excusable

 neglect, and Defendants should be given an opportunity to file their response to Plaintiffs Motion

 for Sanctions. Defendants only request an additional seven days from the original deadline to file

 their opposition. Such a short extension of time will not prejudice Plaintiffs. Rather, it will give

 Defendants the opportunity to locate and provide the information Plaintiffs are seeking.

 Defendants have not acted in bad faith in seeking this short extension.

         2. Defendants Failed to Timely File Their Opposition to Plaintiff’s Motion for
            Sanctions Due to “Excusable Neglect”

                 a. Plaintiffs’ will not be prejudiced by this short seven-day extension of time.

         The Fifth Circuit has explained that delay alone does not constitute prejudice. Lacy v. Sitel

 Corp., 227 F.3d 290, 293 (5th Cir. 2000) (discussing prejudice for purposes of setting aside

 default). Rather, "plaintiff must show that the delay will result in the loss of evidence, increased

 difficulties in discovery, or greater opportunities for fraud and collusion." Id. Jackson v. La. Tech

 Univ., 2011 U.S. Dist. LEXIS 134946, at *13-14 (W.D. La. Nov. 22, 2011) (citing Lacy, 227 F.3d

 at 293.) In this case, the delay of one week will not result in loss of evidence, increased difficulties

 in discovery, or greater opportunities for fraud and collusion. Rather, the additional time will give

 Defendants an opportunity to turn over additional evidence and hopefully resolve some of the

 pending discovery disputes. Defendants have been gathering and preparing to produce additional

 information and documentation relating to Plaintiffs’ pending discovery requests which are at issue

 in the Motion for Sanctions.

                 b. Defendants’ delay of seven-days is short based on the relevant case law.

         Defendants’ response to Plaintiffs’ Motion for Sanctions was due Monday, July 24, 2023,

 and Defendants seek an additional seven (7) days or until Monday, July 31, 2023, to file their


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 response. Courts within this Circuit have found that delays much longer than seven days were short

 and did not impact the case. Razvi v. Dall. Fort Worth Int'l Airport, 2022 U.S. App. LEXIS 26058,

 at *4 (5th Cir. Sep. 16, 2022) (finding delay of 21 days did not prejudice non-moving party);

 Theriot v. Bldg. Trades United Pension Tr. Fund, 2022 U.S. Dist. LEXIS 108115, at *6 (E.D. La.

 June 17, 2022) (finding delay of 30 days relatively short).

                c. While the mistake causing the delay was within reasonable control of
                   Defendants, Defendants’ counsel acted in good faith.

        As previously explained, Defendants’ counsel’s docketing department inadvertently

 calendared the deadline to file an opposition to Plaintiffs’ Motion for Sanctions and (ECF 128) on

 Friday, July 28, 2023. Recognizing that the attorney is ultimately responsible for meeting her

 deadlines, one court found that delegating the calculation and calendaring of deadlines by specially

 trained personnel may ensure greater accuracy than having each lawyer in a large firm calculate

 each filing deadline anew:

        In the modern world of legal practice, the delegation of repetitive legal tasks to
        paralegals has become a necessary fixture. Such delegation has become an integral
        part of the struggle to keep down the costs of legal representation. Moreover, the
        delegation of such tasks to specialized, well-educated non-lawyers may well ensure
        greater accuracy in meeting deadlines than a practice of having each lawyer in a
        large firm calculate each filing deadline anew. The task of keeping track of
        necessary deadlines will involve some delegation. The responsibility for the error
        falls on the attorney regardless of whether the error was made by an attorney or a
        paralegal. See Model Rules of Prof'l Conduct R. 5.5 cmt. 2 (2002) ("This Rule does
        not prohibit a lawyer from employing the services of paraprofessionals and
        delegating functions to them, so long as the lawyer supervises the delegated work
        and retains responsibility for their work."). We hold that delegation of the task of
        ascertaining the deadline was not per se inexcusable neglect.

 Pincay v. Andrews, 389 F.3d 853, 856 (9th Cir. 2004).

        Similarly, the Fifth Circuit citing Pincay explained that missing a deadline due to a

 calendaring error is “gross carelessness” because “lawyers often delegate tasks to paralegals and

 secretaries which "may well ensure greater accuracy in meeting deadlines." Razvi v. Dall. Fort


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 Worth Int'l Airport, 2022 U.S. App. LEXIS 26058, at *10 (5th Cir. Sep. 16, 2022)(citing Pincay,

 389 F.3d at 856); see also Stotter v. Univ. of Texas at San Antonio, 508 F.3d 812, 820 (5th Cir.

 2007) (finding that a district court did not abuse its discretion in determining that counsel's

 calendaring mistake constituted excusable neglect, "[g]iven the leeway granted to district courts

 under this standard [and] the minimal delay and prejudice involved.").

        In sum, consideration of all relevant factors weighs in favor of finding excusable neglect

 and allowing Defendants to file their response to Plaintiffs’ Motion for Sanctions.

 III.   CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court grant Defendants’

 Motion for Extension of Time Pursuant to Rule 6(b)(1)(B), permitting Defendants to file their

 response to Plaintiffs’ Motion for Sanctions.

                Respectfully submitted July 27, 2023.


                                                     JACKSON LEWIS P.C.

                                                     /s/ Claire R. Pitre           _____________
                                                     SUSAN FAHEY DESMOND T.A.
                                                     La. Bar Roll No. 25380
                                                     E-mail: Susan.Desmond @jacksonlewis.com
                                                     CLAIRE R. PITRE
                                                     La. Bar Roll No. 36257
                                                     Email: Claire.Pitre@jacksonlewis.com
                                                     601 Poydras Street, Suite 1400
                                                     New Orleans, Louisiana 70130
                                                     Telephone:      (504) 208-1755
                                                     Facsimile:      (504) 208-1759

                                                     COUNSEL FOR DEFENDANTS




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